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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

    U NITED S TATES OF A MERICA ,

                 P LAINTIFF ,                       Civil Action No.
            v.
    APPROXIMATELY 120,084.5390 TETHER SEIZED
    FROM BINANCE ACCOUNT ENDING 4607,


                 D EFENDANT .

                      VERIFIED COMPLAINT FOR FORFEITURE

      NOW COMES Plaintiff United States of America, by Ryan K. Buchanan,

United States Attorney, and Norman L. Barnett, Assistant United States Attorney,

for the Northern District of Georgia, and shows the Court the following in support

of its Verified Complaint for Forfeiture:

                                NATURE OF THE ACTION

      1.         The defendant property consists of 120,084.5390 Tether (USDT)

virtual currency that the United States Secret Service (“USSS”) seized, pursuant to

a Federal seizure warrant on or about August 17, 2023, from the Binance account

ending 4607 (“TARGET ACCOUNT”)1 (“Defendant Property”).



1 At the time of this filing, 120,084.5390 USDT is worth the equivalent of
approximately $119,968.18 USD.
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                           JURISDICTION AND VENUE

      2.       This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1345 and 1355.

      3.       This Court has in rem jurisdiction over the Defendant Property

pursuant to 28 U.S.C. § 1355(b)(1)(A) because acts or omissions giving rise to the

forfeiture occurred in this district.

      4.       Venue is proper in this district pursuant to 28 U.S.C. § 1355(b)(1)(A)

because the acts or omissions giving rise to the forfeiture occurred in this district.

      5.       The Defendant Property is presently being held in a custodial virtual

wallet maintained by the United States Secret Service.

                             BASIS FOR FORFEITURE

                                  Relevant Statutes

      6.       The Defendant Property is subject to forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(C) on the grounds that it constitutes or was derived from proceeds

traceable to violations of 18 U.S.C. §§ 1349 (conspiracy to commit wire fraud) and

1343 (wire fraud).

      7.       The Defendant Property is also subject to forfeiture pursuant to 18

U.S.C. § 981(a)(1)(A) on the grounds that it constitutes property, real or personal,




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involved in a transaction or attempted transaction in violation of 18 U.S.C. §§ 1956

and 1957 (money laundering), or is property traceable to such property.

                                 Factual Background

                          Overview of Pig Butchering Scheme

      8.       In or around June 2023, the USSS began investigating a suspected “pig

butchering” scheme after it received a complaint from an individual with the

initials MS.

      9.       MS resided in the Northern District of Georgia during the time period

relevant to this Complaint.

      10.      “Pig butchering” is a type of romance scam wherein the perpetuators

pretend to engage in a romantic relationship with a victim – that is exclusively

virtual – for the sole purpose of defrauding the victim out of money.

      11.      The victims in pig butchering schemes are referred to as “pigs” by the

co-conspirators because the co-conspirators use elaborate romantic storylines to

“fatten up” victims into believing they are in a romantic relationship.

      12.      The co-conspirators then introduce to the victim a purported

investment cryptocurrency opportunity.

      13.      Specifically, the co-conspirators claim that they have been investing

in cryptocurrency and experiencing drastic profitable returns. The co-conspirators

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defraud the victims into believing that they also can experience the profitable

returns by investing in the same cryptocurrencies. As part of the scheme, the co-

conspirators will direct the victims to fake websites or applications that are

designed to look like cryptocurrency investment platforms. In reality, the websites

or applications have limited functionality and do not provide the user any access

to the cryptocurrency platform or cryptocurrency wallet.

      14.    The co-conspirators also may show victims images of fake

cryptocurrency transactions to further create the impression that the co-

conspirators are contributing their own funds to the purported cryptocurrency

investment opportunity.

      15.    The co-conspirators then refer to “butchering” or “slaughtering” the

victims once the victim transfers the assets to the fake cryptocurrency investment

platform, which actually are transferred to wallets that the co-conspirators control.

                                Technical Definitions

      16.    “Virtual currencies” or cryptocurrencies are digital assets designed to

work as a medium of exchange that uses strong cryptography to secure financial

transactions, control the creation of additional units, and verify the transfer of

assets. Cryptocurrencies are circulated over the Internet as a form of value.

Cryptocurrencies operate independently of a central bank. Cryptocurrencies are

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similar to paper currency in that the exchange of cryptocurrencies between

individuals is not recorded by financial institutions. Cryptocurrencies are not

issued by any government, bank or company, but rather are generated and

controlled through computer software operating via a decentralized peer-to-peer

network.

      17.    The “blockchain” is essentially a distributed public ledger, run by a

decentralized network, containing an immutable and historical record of every

transaction utilizing that blockchain’s technology. It can be updated multiple

times per hour and records every virtual currency address that ever received that

virtual currency. The blockchain also maintains records of every transaction and

all the known balances for each virtual currency address. There are different

blockchains for different types of virtual currencies.

      18.    Cryptocurrencies are sent to and received from “addresses.” An

address is somewhat analogous to a bank account number and is represented as a

26-to-35-character-long case-sensitive string of letters and numbers. Each address

is controlled through the use of a unique corresponding private key, a

cryptographic equivalent of a password or PIN needed to access the address. Only

the holder of an address’s private key can authorize any transfers of

cryptocurrencies from that address to other addresses.

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      19.    To transfer a cryptocurrency to another address, the payor transmits

a transaction announcement, cryptographically signed with the payor's private

key, across the network. The address of the receiving party and the sender's

private key are the only pieces of information needed to complete the transaction.

These two keys by themselves rarely reflect any identifying information. As a

result, little-to-no personally identifiable information about the payor or payee is

transmitted in a transaction itself. Once the payor's transaction announcement is

verified, the transaction is added to the blockchain. The blockchain logs every

address that has ever received a cryptocurrency and maintains records of every

transaction for each address.

      20.    Cryptocurrency exchanges are businesses that allow customers to

trade cryptocurrencies for other assets, such as conventional fiat money or other

virtual currencies.

      21.    Binance is a cryptocurrency exchange and custodian that allows

customers to buy, sell and store virtual assets. Binance Global, the Binance entity

relevant to this complaint is incorporated in the Cayman Islands.

      22.    Crypto.com, FTX, and imToken are legitimate cryptocurrency

exchanges in which users can purchase, send, receive, and trade virtual currencies.




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      23.     “Tether,” widely known as “USDT,” is a blockchain-based

cryptocurrency whose tokens in circulation are backed by an equivalent amount

of U.S. dollars, making it what is known as a “stablecoin.”

      24.     “Ethereum” is an open source, public blockchain-based distributed

computing platform and operating system that hosts USDT and ETH virtual

currencies.

      25.     “Ether” (“ETH”) is a cryptocurrency that is open source, public, has a

blockchain, and is distributed on a platform. The public ledger is the digital trail

of the Ethereum blockchain, which allows anyone to track the movement of ETH.

      26.     A “transaction hash” is a unique string of letters and numbers

generated when a cryptocurrency transaction is initiated. Records of transaction

hashes are permanent and publicly available on the Ethereum blockchain.

      27.     A “wallet” is a software application that interfaces with the virtual

currency’s specific blockchain and generates and stores a user’s addresses and

private keys. A virtual currency wallet also allows users to send and receive virtual

currencies. Multiple addresses can be stored in a wallet.

      28.     “Fiat” funds are any funds declared by a government to be legal

tender. An example of fiat funds is the United States Dollar.




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                    The Pig Butchering Scheme Targeting Victim MS

      29.      On or around June 2022, MS connected with an individual identifying

themselves as “Shiman Liu” (“LIU”) via text message.

      30.      LIU did not share any mutual contacts with MS and MS believed that

LIU reached out to MS randomly.

      31.      MS and LIU began chatting frequently through text messages and

then moved most of their conversations to Line, an encrypted text messaging

application.

      32.      Initially, conversations between MS and LIU involved hobbies and

family.

      33.      LIU told MS that she had divorced prior to coming to the United

States.

      34.      LIU also sent MS pictures of who MS believed to be LIU through the

Line messaging application.

      35.      Eventually, LIU told MS that she worked for Cylance, a company that

manages website security and maintenance for Whitcoin, a digital asset trading

platform.

      36.      LIU also told MS that, because of her position at Cylance, she could

see the movement of cryptocurrency through backdoor channels.

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      37.   Additionally, LIU told MS that she saw the movement of several

virtual currencies at Whitcoin by an unnamed “big money” market maker and that

the group was able to invest such large amounts of money that the investments

always made money.

      38.   LIU also told MS that she used her ability to follow the movement of

the market maker to begin investing and trading her own funds, and had seen

immediate profit.

      39.   Ultimately, LIU suggested that MS begin investing and trading with

Whitcoin.

      40.   LIU told MS that, when LIU saw movement within Whitcoin, she

would tell MS about the movement and instruct MS on what to do within Whitcoin

to help MS make money.

      41.   USSS has determined that Whitcoin does not operate as a trading

platform and, instead, appears to be a fake investment platform established for the

purpose of defrauding individuals.

      42.   Whitcoin’s domain ownership history is associated with Whitcex.net.

      43.   Whitcex.net is registered as an employee-owned web hosting

provider.

      44.   Additionally, an internet keyword search for Whitcoin returns

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multiple results that recommend caution when dealing with Whitcoin because of

reports of Whitcoin withholding client funds.

       45.   The Whitcoin website is no longer active.

       46.   Per LIU’s suggestion, MS opened a FTX account to invest in

cryptocurrency on the Whitcoin platform.

       47.   MS also opened a Crypto.com account that allowed MS to make

transfers to imToken and transfers from imToken to Whitcoin.

       48.   LIU instructed MS on what trades to make on the Whitcoin platform.

       49.   Following LIU’s instructions, MS began investing in Ethereum (ETH)

and Tether (USDT) on the Whitcoin trading platform.

       50.   MS viewed what MS believed were profits in the Whitcoin platform.

       51.   Based on MS’s perceived profits and LIU’s encouragement, MS

continued sending virtual currency to Whitcoin to make what MS believed to be

investments on the platform.

       52.   On or about November 8, 2022, after making a request to withdraw

funds from Whitcoin, MS withdrew the equivalent of approximately $55,000.00

USD.

       53.   Based on the training and experience of law enforcement personnel

involved in this investigation, it is common for perpetuators of pig butchering

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schemes to allow victims to withdraw perceived profits from fake trading

platforms to gain the victim’s trust and give the platform the appearance of

legitimacy.

      54.     In or around January 2023, MS made a new request to withdraw

funds from Whitcoin.

      55.     This time, however, MS was told, via a message on the Whitcoin

platform, that MS must pay a 20% tax on all of MS’s earnings before MS would be

able to make a withdrawal.

      56.     Based on the earnings presented on the Whitcoin platform, the

purported tax equaled approximately $740,000.00 USD.

      57.     LIU assured MS that Whitcoin also had required that LIU pay a 20%

tax when she withdrew funds. LIU claimed that her tax only had been $400,000.00

USD because she had earned less than MS.

      58.     LIU also told MS that, once LIU paid her tax, she would help MS pay

MS’s tax.

      59.     LIU subsequently told MS that LIU had been able to withdraw her

funds after paying the 20% tax and provided MS a purported screenshot of her

withdrawal record sent via a message on the Line application.

      60.     LIU assured MS that LIU would give MS approximately $600,000.00

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USD, a combination of her money and money from one of her friends from

Cylance, to pay the tax.

      61.   LIU sent MS a screencap purporting to be from the Whitcoin platform

indicating that LIU transferred $600,000.00 to MS, which caused MS to believe that

LIU transferred the funds directly to MS in the Whitcoin exchange.

      62.   Thereafter, Whitcoin, via a message on the Whitcoin platform,

informed MS that MS must pay approximately $150,000.00 USD to access the

$600,000.00 USD transferred to MS by LIU.

      63.   MS borrowed money from friends and obtained loans to pay the

purported tax.

      64.   After MS paid the purported tax, Whitcoin emailed MS that because

MS had been three days late, MS now had to pay an additional $90,000.00 USD to

increase MS’s “credit.”

      65.   Based on this requirement from Whitcoin, MS borrowed $90,000.00

USD and paid Whitcoin.

      66.    Whitcoin, through a message on the Whitcoin platform, informed

MS that MS’s account was suspicious and MS was required to pay a $250,000.00

USD refundable deposit to verify MS’s account and withdraw more funds

from Whitcoin.

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      67.   MS informed LIU that MS did not have the money to pay Whitcoin

the amount requested.

      68.   LIU, again, sent MS a screencap purporting to be from the Whitcoin

platform indicating that LIU transferred $250,000.00 USD to MS’s Whitcoin

account, which made MS believe that LIU transferred funds to MS’s Whitcoin

account so MS could pay the amount requested by Whitcoin.

      69.   Because of the supposed fees being charged by Whitcoin, LIU

suggested that MS transfer the funds in her account to “Emirexpro.com,” which

was supposed to be another cryptocurrency investment platform.

      70.   The USSS has determined that Emirexpro.com is another fake

investment platform established for the purpose of defrauding individuals.

      71.   On or about March 31, 2023, based on transactions perceived on the

Emirexpro platform, MS believed that MS transferred the total of what MS

believed to be MS’s Whitcoin funds, the equivalent of approximately $5,500,000.00

USD, to Emirexpro.com.

      72.   MS was then told by Emirexpro, through a message on the chat

feature of Emirexpro’s platform, that MS would need to pay $50,000.00 USD to

upgrade MS’s account to VIP status, which would allow MS to withdraw funds.

      73.   At this point, MS contacted law enforcement officials and reported

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that MS had been defrauded.

      74.   Altogether, from approximately September 23, 2022 through

February 14, 2023, MS sent the equivalent of approximately $1,600,000.00 USD in

virtual currency to Whitcoin.

     Fraud Proceeds Obtained from MS were Transferred to TARGET ACCOUNT

      75.   USSS’s review of the blockchain verifies the transactions made by MS

and further reflects that MS’s funds were transferred to the TARGET ACCOUNT

and other addresses that received other known fraud proceeds.

      76.   Each transaction reviewed by USSS during the investigation

involving the pig butchering scheme discussed herein corresponds with its own

unique transaction hash.

      77.   The Ethereum blockchain reflects that, on or about September 25,

2022, MS sent 10.82 ETH2 from his imToken wallet to a wallet address beginning

with 0x6f047d2f.

      78.   Days later, on or about September 28, 2022, MS sent 116.4 ETH3 from

his imToken wallet to the same wallet beginning with 0x6f047d2f.



2 As of the date of this filing, 10.82 ETH is worth the equivalent of approximately

$21,719.74 USD.
3 As of the date of this filing, 116.4 ETH is worth the equivalent of approximately

$233,657.87 USD.
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      79.   MS, on or about October 19, 2022, also sent 144 ETH4 from his

imToken wallet to a wallet address beginning with 0x9fbd9b6c.

      80.   A review of the Ethereum blockchain shows that, for each of the

instances described in Paragraphs 77 through 79 where MS believed MS sent ETH

to Whitcoin, the ETH was converted into USDT after being sent to Tokenlon, a

decentralized cryptocurrency exchange.

      81.   Based on the training and experience of law enforcement personnel

involved in this investigation, converting one virtual currency to another amid

rapid transfers is done in an attempt to confuse or evade law enforcement and

conceal proceeds of criminal activity.

      82.   The ETH sent by MS was then rapidly transferred through multiple

hops, that is, different wallet addresses, before reaching the TARGET ACCOUNT.

      83.   Some of the above-described hops formed a circular flow of funds.

      84.   For example, USSS determined that the ETH that MS believed MS sent

to Whitcoin on or about September 25, 2022 and September 28, 2022, after being

converted to USDT, hopped through a wallet with an address beginning with

0x1e8b3cae and a wallet with an address beginning with 0xfb996c3c prior to



4 As of the date of this filing, 144 ETH is worth the equivalent of approximately

$288,061.28 USD.
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entering the TARGET ACCOUNT.

       85.   Similarly, the ETH that MS believed MS sent to Whitcoin on or about

October 19, 2022, after being converted to USDT, also hopped through the same

wallet with an address beginning with 0x1e8b3cae and the same wallet with an

address beginning with 0xfb996c3c prior to entering the TARGET ACCOUNT.

       86.   The Ethereum blockchain further revealed that the funds described in

Paragraphs 77 through 79 were hopped through multiple wallets, and transferred

into TARGET ACCOUNT – all approximately one day after MS initially sent the

ETH.

       87.   The following diagram shows the transactions described in

paragraphs 77 through 86, including MS’s transfers of the ETH from his imToken

wallet on September 25, 2023, September 28, 2023 and October 19, 2023, the ETH

being converted into USDT, and the converted funds being deposited into the

TARGET ACCOUNT.




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      88.   USSS reviewed records for nine accounts held at cryptocurrency

exchanges, including the TARGET ACCOUNT, that received MS’s funds and

determined that the accounts were consistent with pig butchering schemes

because the accounts displayed a history of frequent, large dollar deposit

transactions followed by a pattern of rapid movement of funds with large

corresponding withdrawals.

The TARGET ACCOUNT is Associated with Fraud Schemes Targeting Other Victims

      89.   USSS determined that other victims who reported being victimized

through fraudulent investment schemes were associated with the wallet addresses

connected with the TARGET ACCOUNT.

      90.   More specifically, USSS analyzed the USDT wallet addresses used in

hops between victim MS sending ETH to Whitcoin and MS’s funds reaching the

TARGET ACCOUNT.

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      91.   The analysis revealed that victims filed complaints with the Federal

Bureau of Investigation’s Internet Crime Complaint Center (“IC3”) or the Federal

Trade Commission’s (“FTC’s”) Consumer Sentinel Database regarding the same

wallet addresses through which MS’s funds flowed before reaching the TARGET

ACCOUNT.

      92.   Altogether, the TARGET ACCOUNT processed virtual currency

equaling the equivalent of approximately $45,238,693.78 USD between November

2018 and June 2023.

                       FIRST CLAIM FOR FORFEITURE
                            18 U.S.C. § 981(a)(1)(C)

      93.   The United States re-alleges and incorporates by reference

Paragraphs 1 through 92 of this Complaint as if fully set forth herein.

      94.   Based on the foregoing, the Defendant Property is subject to forfeiture

to the United States pursuant to 18 U.S.C. §§ 981(a)(1)(C) on the grounds that the

funds constitute or were derived from proceeds traceable to violations of 18 U.S.C.

§§ 1349 (conspiracy to commit wire fraud) and 1343 (wire fraud).

                      SECOND CLAIM FOR FORFEITURE
                           18 U.S.C. § 981(a)(1)(A)

      95.   The United States re-alleges and incorporates by reference

Paragraphs 1 through 92 of this Complaint as if fully set forth herein.


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      96.   The Defendant Property is subject to forfeiture to the United States

pursuant to 18 U.S.C. §§ 981(a)(1)(A) on the grounds that the funds constitute

property, real or personal, involved in a transaction or attempted transaction in

violation of 18 U.S.C. §§ 1956 and 1957 (money laundering), or is property

traceable to such property.

                              PRAYER FOR RELIEF

WHEREFORE, the United States prays:

      (1)   that the Court forfeit the Defendant Property to the United States of

            America;

      (2)   that the Court award the United States the costs of this action; and

      (3)   such other and further relief as the Court deems just and proper.

      This 27th day of November 2023.

                                        Respectfully submitted,

                                        R YAN K. B UCHANAN
                                           United States Attorney
                                           75 Ted Turner Drive SW
                                           Atlanta, GA 30303
                                           (404) 581-6000 fax (404) 581-6181

                                     /s/N ORMAN L. B ARNETT
                                             Assistant United States Attorney
                                        Georgia Bar No. 153292
                                        Norman.barnett@usdoj.gov



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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

   U NITED S TATES OF A MERICA ,

              P LAINTIFF ,                          Civil Action No.
         v.

   120,084.5390 TETHER SEIZED FROM BINANCE
   ACCOUNT ENDING 4607,

              D EFENDANT .


              VERIFICATION OF COMPLAINT FOR FORFEITURE

      I, Tyler LaBarr, have read the Complaint for Forfeiture in this action and

state that its contents are true and correct to the best of my knowledge and belief

based upon my personal knowledge of the case and upon information obtained

from other law enforcement personnel.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

      This 27th day of November 2023.



                                            _________________________________
                                            TYLER LABARR
                                            SPECIAL AGENT
                                            UNITED STATES SECRET SERVICE
